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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI-DADE DIVISION

                                                       |
                                                       |
   GALE VALERIE ABRAMS,
                                                       |
              Plaintiff,                               |
                                                       |
              v.                                       |      CASE NO.: 9:18-CV-81533-BB
                                                       |
   BENZ, LLC.,                                         |
                                                       |
              Defendant.                               |
                                                       |

              PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT JUDGMENT
                  AND FOR AWARD OF ATTORNEY FEES AND COSTS

         Plaintiff GALE VALERIE ABRAMS (“Plaintiff”), pursuant to the provisions of Rule

  55(b)(2) of the Federal Rules of Civil Procedure, moves this Court to enter Default Judgment

  Default against Defendant BENZ, LLC. Plaintiff further seek attorneys’ fees and costs.


                                 PROCEDURAL BACKGROUND

         Plaintiff initiated this action for injunctive relief and attorneys’ fees and costs pursuant to

  42 U.S.C. §12181, et seq. (“Americans With Disabilities Act” or “ADA”). Plaintiff, GALE

  VALERIE ABRAMS, qualifies as an individual person within the meaning of the ADA. Plaintiff

  requires grab bars behind and adjacent to a commode so that she can safely transfer and often has

  difficulty reaching the flush handle. Plaintiff’s wheelchair accommodation is difficult to transport

  through doorways that lack the proper width. The subject property is a hotel. Defendant was served

  with the summons and complaint on November 19, 2018 [DE 9] but failed to file any responsive

  pleading. Therefore, a Clerk’s Default was entered against Defendant on December 12, 2018 [DE

  12].


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                                    MEMORANDUM OF LAW

                        I.      Plaintiff is Entitled to Final Default Judgment

         This Court has original jurisdiction pursuant to 28 U.S.C. §1331 and 1343, for Plaintiff’s

  claims under 28 U.S.C. §12181, et. seq. based Defendant’s violations of Title III of the Americans

  With Disabilities Act (see also, 28 U.S.C. §2201 and §2202).

         Pursuant to the provisions of Rule 55 of the Federal Rules of Civil Procedure, when a party

  against whom affirmative relief is sought has failed to plead or otherwise defend as provided by

  the Rules of Civil Procedure, a default shall be entered against that party. In the instant action,

  Defendant was properly served with the Complaint filed herein and failed to file a response as

  required by law. As such, a final default judgment should be entered by the Court against

  Defendant based upon evidence provided by a supporting affidavit and/or a hearing if necessary.

         Defendant owns, operates and controls a place of public accommodation as defined by the

  ADA under 28 CFR 36.201(a) and 36.104. The property is called BERNEY FLY BED AND

  BREAKFAST and is located at 1118 Government Street, Mobile, AL, 36604 in Mobile

  COUNTY, Alabama (hereinafter “the Property”). Defendant is required to comply with the ADA,

  as well as the standards applicable to places of public accommodation, as set forth in the Code of

  Federal Regulations, and the 2010 ADA Standards, incorporated by reference into the ADA. These

  regulations impose requirements pertaining to places of public accommodation, including places

  of lodging, to ensure that they are accessible to disabled individuals. More specifically, 28 C.F.R.

  § 36.302(e)(1) (ii) imposes the following requirements:


         Reservations made by places of lodging. A public accommodation that owns, leases (or
         leases to), or operates a place of lodging shall, with respect to reservations made by any
         means, including by telephone, in-person, or through a third party:

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                 (i) Modify its policies, practices, or procedures to ensure that individuals with
         disabilities can make reservations for accessible guest rooms during the same hours and in
         the same manner as individuals who do not need accessible rooms;
                 (ii) Identify and describe accessible features in the hotels and guest rooms offered
         through its reservations service in enough detail to reasonably permit individuals with
         disabilities to assess independently whether a given hotel or guest room meets his or her
         accessibility needs;
                 (iii) Ensure that accessible guest rooms are held for use by individuals with
         disabilities until all other guest rooms of that type have been rented and the accessible room
         requested is the only remaining room of that type;
                 (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
         and ensure that the guest rooms requested are blocked and removed from all reservations
         systems; and
                 (v) Guarantee that the specific accessible guest room reserved through its
         reservations service is held for the reserving customer, regardless of whether a specific
         room is held in response to reservations made by others.


         The Defendant, either by itself or through a third party, implemented, operates, controls

  and/or maintains the following website for the Property:

  https://www.berneyflybedandbreakfast.com/
         The purpose of this website is so that members of the public may reserve guest

  accommodations and review information pertaining to the goods, services, features, facilities,

  benefits, amenities, and accommodations of the Property. As such, the website is subject to the

  requirements of 28 C.F.R. § 36.302(e). Prior to commencement of this lawsuit, Plaintiff visited the

  Property’s website for the purpose or reviewing an assessing the accessible features at the Property

  to ascertain whether it meets Plaintiff’s individual disability needs by seeking descriptions of the

  disability accommodations. Plaintiff was unable to verify whether the Property contains adequate



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  disability accommodations due to Defendant’s failure to comply with the requirements imposed

  by 28 C.F.R. § 36.302(e)(1).

         The website operated by Defendant, or on behalf of Defendant through a third party, does

  not alert any disabled person as to roll-in showers, tubs, built-in seating, commodes, grab bars,

  sinks, wrapped pipes, sink and door hardware, sufficient maneuvering spaces, furniture, controls,

  nor operating mechanisms. It does not identify whether there is compliant handicapped parking,

  nor the location of the parking in proximity to ramps or entrances to the Property. Defendant’s

  non-compliance deprived Plaintiff of the equal opportunity to obtain necessary information

  regarding goods, services, features, facilities and accommodations generally available to

  nondisabled persons when booking public accommodations at this Property. The website does not

  identify and describe the accessible features of the Property in enough detail to reasonably permit

  individuals with disabilities, nor this Plaintiff, to assess independently whether this Property meets

  any specific disability requirements.

         Prior to commencement of this action, Plaintiff sent Defendant a letter notifying the

  Defendant of non-compliance, seeking to remedy the situation, and otherwise offering to assist the

  Defendant in coming into compliance with the aforementioned laws. At the time of filing of this

  lawsuit, Defendant failed to address the letter or otherwise effectively communicate with the

  Plaintiff to resolve the issues of this case. Plaintiff intends to revisit Defendant’s or Defendant’s

  third-party agent’s website and/or online reservation system in order to test it for compliance with

  28 C.F.R. § 36.302(e) and/or otherwise determine if the site provides enough information for

  Plaintiff to determine whether the site comes into compliance with the guidelines of the

  aforementioned law.




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            Under Section 36.302(b)(2) of Title III of the ADA, it is unlawful discrimination to deny

  individuals with disabilities the opportunity to participate in or benefit from the goods, services,

  facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §12182 et seq. The

  Department of Justice, Office of the Attorney General, promulgated federal regulations to

  implement the requirements of the ADA. 28 CFR Part 36. Defendant is in violation of 42 U.S.C.

  12181 et seq., and 28 CFR 36.302 et seq., and is discriminating against Plaintiff. The

  discrimination is based on the Defendant’s denying Plaintiff full and equal enjoyment of the goods,

  services, facilities, benefits advantages and accommodations as prohibited by 42 U.S.C. §12182

  et seq., and by depriving her of the information required to make meaningful choices for travel.

  By maintaining the website with the violations, Defendant deprives Plaintiff the equality of

  opportunity offered to the general public.


            Under 42 U.S.C. 12188(a)(2), this Court has the authority to grant Plaintiff’s injunctive

  relief, including an Order to alter the subject facilities to make them readily accessible to and

  useable by individuals with disabilities to the extent required by the ADA. In Houston v. Petrol

  Enters., No. 11-61737-CIV-COHN/SELTZER, 2012 U.S. Dist. LEXIS 188683 (S.D. Fla. Jan. 30,

  2012), this Court issued a default judgment requiring the defendant to bring the violations

  described in the complaint into compliance with the ADA. See also Houston v. Petrol Enterprises,

  Inc., 0:11-cv-61737-JIC, DE 15 (S.D. Fla. March 30, 2012) (requiring defendant to bring

  violations into compliance and awarding attorneys’ fees, costs and litigation expenses by separate

  order).

     II.       Plaintiff Is Entitled to His Attorney Fees, Costs, and Litigation Expenses

     Plaintiff was obligated to retain undersigned counsel for the filing and prosecution of this

  action and has agreed to pay reasonable attorneys’ fees, including costs and litigation expenses

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  and costs incurred in this action. Plaintiff is entitled to recover those attorneys’ fees, costs and

  litigation expenses from Defendant pursuant to 42 U.S.C. §12205 and whatever other relief the

  Court deems just, equitable and appropriate. Section 12205 of the Americans with Disabilities Act

  ("ADA") authorizes this Court to "allow the prevailing party, other than the United States, a

  reasonable attorney's fee, including litigation expenses, and costs . . ." 42 U.S.C. § 12205. A

  "prevailing party" is "[a] party in whose favor a judgment is rendered, regardless of the amount of

  damages awarded." Harty v. Ross Dress for Less, Inc., No. 6:11-cv-351-Orl-31GJK, 2012 U.S.

  Dist. LEXIS 1187, 2012 WL 28807, at *1 (M.D. Fla. Jan. 5, 2012) (citing Buckhannon Bd. & Care

  Home, Inc. v. W. Va. Dep't of Health & Human Res., 532 U.S. 598, 604, 121 S. Ct. 1835, 149 L.

  Ed. 2d 855 (2001)).

     Under Federal Rule of Civil Procedure 54(d), a prevailing party is entitled to their costs. A

  prevailing party's recoverable costs are listed in 28 U.S.C. § 1920 which provides that the

  following costs are taxable: (1) fees of the clerk and marshal; (2) fees of the court reporter for all

  or any party of the stenographic transcript necessarily obtained for use in the case; (3) fees and

  distributions for printing and witnesses; (4) fees for exemplification and copies of papers

  necessarily obtained for use in the case; (5) docket fees under section 1923; and (6) compensation

  of court-appointed experts, compensation of interpreters, and salaries, fees, expenses, and costs of

  special interpretation services. 28 U.S.C. § 1920.

     The inclusion of the term "litigation expenses, and costs" in the ADA is broader than this costs

  statute and Plaintiffs may also recover all litigation expenses. Brother v. BFP Invs., Ltd., No. 03-

  60129-CIV, 2010 U.S. Dist. LEXIS 74861, 2010 WL 2978080, at *8 (S.D. Fla. July 26, 2010).

  Because Defendant was properly served with the Complaint filed herein and failed to file a

  response as required by law, a final default judgment should be entered by the Court against



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  Defendant, and as such Plaintiff is entitled to recover her reasonable attorneys’ fees, costs, and

  litigation expenses.


     III.      Calculating Attorneys' Fees

     To determine a reasonable attorneys' fee award, the Court must multiply the number of hours

  reasonably expended on the litigation by the customary fee charged in the community for similar

  legal services. Hensley v. Eckerhart, 461 U.S. 424, 433-34, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983);

  Norman v. Hous. Auth., 836 F.2d 1292, 1299 (11th Cir.1988). The court may adjust the fees'

  amount, based on a variety of factors. Hensley, 461 U.S. at 435-36.

     A reasonable hourly rate is the prevailing market rate in the relevant legal community for

  similar services by lawyers of reasonably comparable skills, experience, and reputation. Blum v.

  Stenson, 465 U.S. at 895-96 n. 11, 104 S. Ct. at 1547 n. 11. Accord, Gaines v. Dougherty County

  Board of Education, 775 F.2d 1565, 1571 (11th Cir.1985).

     Avery S. Fenton’s Affidavit of Attorney’s Fees and Costs is attached as Composite Exhibit A.

  Attorney Avery S. Fenton has been an attorney since 2015 and is a member in good standing in

  Florida and United States District Court for the Southern District of Florida. Attorney Fenton seeks

  an hourly rate of $325.00.

     IV.       Costs and Litigation Expenses


            A prevailing party is entitled to costs pursuant to Rule 54(d) of the Federal Rules of Civil

  Procedure. These costs are defined by 28 U.S.C. §1920, which provides for recovery of, inter alia,

  (1) fees of the Clerk and process server; (2) court reporter fees “for all or any part of the

  stenographic transcript obtained for use in the case”; (3) fees “for exemplification and copies of

  papers necessarily obtained for use in the case”; and (4) docket fees.


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          Additionally, Plaintiff seeks a $1,000.00 reinspection fee for the reinspection

  contemplated after the Defendant completes the repairs of the existing barriers to access, to

  confirm that the ADA violations have been corrected. Reinspection fees have been awarded in

  civil rights cases in order to monitor compliance with the court order. See, Access For America,

  Inc. v. Oakwood Center, L.C., Case No. 8:02-civ-464-T-30MSS (M.D. Fla. 2003). Numerous

  circuit courts have held that services required in the post-judgment monitoring to ensure continuing

  compliance with a consent decree in civil rights cases are compensable.

         Plaintiff has incurred $6,078.00 in fees and expenses. This is based on 14.5 hours expended

  by Attorney Avery S. Fenton, multiplied by a sought hourly rate of $325.00, for a total of

  $4,518.00; filing fees in the amount of $400.00, and process server fees in the amount of $160.00.

  Plaintiff also anticipates a reinspection fee of $1,000.00 to ensure compliance. Plaintiff’s counsel

  below certifies that he has fully reviewed the time records and supporting data and that the motion

  is well grounded in fact and is justified. Plaintiff’s total expert fees, attorney fees, costs and

  litigation expenses are $6,078.00.


                                           CONCLUSION

         WHEREFORE, Plaintiff respectfully moves this Court to enter Judgment after Default

  against the Defendant, is in violation of the requirements of Title III of the ADA, and enjoining it

  from discriminating against individuals with disabilities, closing the subject facilities until

  completion of all alterations necessary to make the premises accessible by individuals with

  disabilities and otherwise in compliance with the ADA, and awarding Plaintiff her attorneys’ fees,

  and costs incurred in this lawsuit in the amount of $6,078.00.




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                                   CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that on the 4th day of January 2019, I electronically filed

  the foregoing document with the Clerk of the Court using CM/ECF. I also certified that the

  forgoing document is being served this day on all counsel of record or pro se parties identified

  below in the manner specified, either via transmission of Notice of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically, Notices of Electronic Filing:

         BENZ, LLC.
         1118 Government Street
         Mobile, FL 36604
                                                        Respectfully submitted,
                                                        LEGAL JUSTICE ADVOCATES, LLP


                                                        /s/ Avery S. Fenton____
                                                        Avery S. Fenton
                                                        Florida Bar No. 118186
                                                        Counsel for Plaintiff, Gale Abrams
                                                        Tel: (202) 290-6671
                                                        Email: af@legaljusticeadvocates.com




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                            EXHIBIT “A”
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